JS 44 (Rev, 06/17)

purpose of initiating the civil docket sheet

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. ‘This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(NIE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I.

(a) PLAINTIFFS

R. Alexander Acosta, Secretary of Labor, U.S. Department of Labor

(b) County of Residence of First Listed Plaintiff

Philadelphia

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

See Attachment

DEFENDANTS

NOTE:

Attorneys (if Known)

See Attachment

 

County of Residence of First Listed Defendant

East Penn Manufacturing Company, Inc.

Berks

(IN U.S. PLAINTIFF’ CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

 

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “"X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
(K1__U.S. Government © 3. Federal Question PYI¥Y DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 O 1 Incorporated or Principal Place o4 04
of Business In This State
0 2 US, Government 0 4 Diversity Citizen of Another State 1 2 © 2 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in Hen: IID) of Business In Another State
Citizen or Subject of a G3 © 3. Foreign Nation o6 O6
Foreign Country

 

 

IV. NATURE OF SUIT (Place an "X" in One Box Only)

“Suit Code Deseriptions

 

 

 

 

 

 

 

 

 

 

 

 

 

Click here for: Nature o
| CONTRACT TORTS FORFELTURE/PENALTY BANKRUPTCY OVHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
GO 120 Marine O 310 Airplane ( 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 0 376 Qui Tam (3! USC
0 130 Miller Act O 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability O 367 Health Care/ 400 State Reapportionment
(1 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical ERT. GUTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 0 430 Banks and Banking
0 15] Medicare Act 0 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
( 152 Recovery of Defaulted Liability O 368 Asbestos Personal O 835 Patent - Abbreviated OC 460 Deportation
Student Loans G 340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
(Excludes Veterans) O 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR {AL SECURIT (7 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 0 370 Other Fraud @% 710 Fair Labor Standards 0 861 HIA (1395ff) O 490 Cable/Sat TV
OC 160 Stockholders’ Suits 355 Motor Vehicle O 371 Truth in Lending Act O 862 Black Lung (923) OG 850 Securities/Commodities/
O 190 Other Contract Product Liability O 380 Other Personal 0 720 Labor/Manageinent O 863 DIWC/DIW W (405(g)) Exchange
OC 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI © 890 Other Statutory Actions
1 196 Franchise Injury 1 385 Property Damage OG 740 Railway Labor Act O) 865 RSI (405(g)) O 891 Agricultural Acts
0) 362 Personal Injury - Product Liability 751 Family and Medical 7 893 Environmental Matters
Medical Malpractice Leave Act 1 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS Act
CO 210 Land Condemnation C440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement CO 870 Taxes (U.S. Plaintiff GO 896 Arbitration
O 220 Foreclosure O 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
O 230 Rent Lease & Ejectment O 442 Employment 0 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
OG 245 Tort Product Liability Accommodations O 530 General © 950 Constitutionality of
O 290 All Other Real Property © 445 Amer, w/Disabilities -] 0 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 462 Naturalization Application
(1 446 Amer. w/Disabilities - | 540 Mandamus & Other | 465 Other Immigration
Other 7 550 Civil Rights Actions
© 448 Education 0 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an x" in One Box Only)

PX1 Original 112 Removed from © 3. Remanded from O14 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)
29 U.S.C. 201 et seq,

Brief description of cause:

FLSA overtime and record keeping violations

 

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN C} CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv_P. JURY DEMAND: O Yes No
VIII. RELATED CASE(S) ——— y
IF ANY Seeman! une Gene) 2. K. Pratter2, 7 _ “SSy__ DOCKET NUMBER 17-MC-00179

 
  

 

 

DATE 2/ / MONATUBE OF ATTOR ‘ORD yp
SI ZOU es i p—_—
FOR OFFICE USE ONLY r Fe =

RECEIPT # AMOUNT APPLYING IFP MAG, JUDGE
Attachment to Civil Cover Sheet (Form JS 44)
Attorneys for Plaintiff:

Oscar L. Hampton III
Regional Solicitor

MO ID# 36778
Hampton.Oscar@dol.gov
(215) 861-5120

Adam F. Welsh

Regional Counsel for Wage and Hour
PA ID# 84988
Welsh.Adam@dol.gov

(215) 861-5159

Jordana L. Greenwald
Senior Trial Attorney

PA ID# 93836
Greenwald.Jordana@dol.gov
(215) 861-5129

Bertha M. Astorga

Trial Attorney

PA ID# 320644
Astorga.Bertha. M@dol.gov
(215) 861-5126

Post Office Address:

Oscar L. Hampton III

Regional Solicitor

Office of the Solicitor

U.S. Department of Labor

Suite 630E, The Curtis Center
170 S. Independence Mall West
Philadelphia, PA 19106

Attorneys for Defendant:

Gary D. Melchionni
Stevens & Lee

51 South Duke St.
Lancaster, PA 17608
(717) 291-1031
gdm@stevenslee.com
Theresa M. Zechman
Stevens & Lee

51 South Duke St.
Lancaster, PA 17608
(717) 291-1031
tmz@stevenslee.com
